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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10
        RICHARD T. HENRETTA,                                   CASE NO. 3:22-cv-05407-RJB
11
                                Plaintiff,                     ORDER FOR JUDGMENT
12              v.
13      ROGER W. ACH, II, JANET ACH,
        CHICAGO WEST PULLMAN, LLC,
14      SOCIAL PAY, AND BIOTONE,
15                              Defendants.

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17          This matter comes before the Court on Plaintiff's Verified Motion and Proposed Order for

18   Entry of Judgment (Dkt. 45) as supplemented by the Court's Order Requesting Briefing (Dkt. 47)

19   and Plaintiff's Brief in Support of Motion for Default (Dkt. 48).

20          Default of the above-named Defendants was entered by the Order on Related Motion

21   (Dkt. 41) granting the Amended Motion for Entry of Default (Dkt. 38) which named the

22   defaulted Defendants.

23          The Court is familiar with the records and files herein and the verified contents thereof

24   supports Plaintiff's request for this Default Judgment.


     ORDER FOR JUDGMENT - 1
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 1              The Judgment to be entered contains the following parts:

 2              Unpaid wages                                                $52,300.00

 3              Doubled wages                                               $52,300.00

 4              Late payment contract                                       $69,250.00

 5              Stock not delivered                                       $959,000.00

 6              Loss of Unemployment Compensation                           $24,000.00

 7              Payment of employer-side taxes                               $4,000.00

 8              Outrage - damages                                       $1,000,000.00

 9              Costs and fees1                                             $26,000.00

10              Now, therefore, the Clerk should enter a judgment in favor of Plaintiff Richard T.

11   Henretta and against Roger W. Ach, II, Janet Ach, Chicago West Pullman LLC, Social Pay and

12   BioTone in the sum of $2,186,850.00.

13              IT IS SO ORDERED.

14              The Clerk is directed to send uncertified copies of this Order to all counsel of record and

15   to any party appearing pro se at said party’s last known address.

16              Dated this 12th day of June, 2024.

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                                                     ROBERT J. BRYAN
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                                                     United States District Judge
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         Plaintiff's counsel's contingent fee agreement is not considered here, and remains in effect.
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     ORDER FOR JUDGMENT - 2
